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8                              UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
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11   GLORIA BAHENA DE SOTELO,                            Civil No.: 17cv02182 JAH-KSC
12                                     Petitioner,
13   v.                                                  ORDER REQUIRING RESPONSE
14   UNITED STATES OF AMERICA,
15                                   Respondent.
16
17         Petitioner, Gloria Bahena De Sotelo, filed a petition for writ of error coram nobis
18   pursuant to 28 U.S.C. § 1651(a), seeking to have her guilty plea vacated. See Doc. No 2.
19   This Court has reviewed the petition and deems it appropriate to require Respondent to file
20   a response thereto.
21         Accordingly, IT IS HEREBY ORDERED:
22         1.      Respondent shall file and serve a responsive pleading no later than July 31,
23   2018. The response shall include any and all documents relevant to the determination of
24   the issues in the petition.
25         2.      If Petitioner wishes to reply to Respondent’s pleading, a traverse or other
26   appropriate pleading must be filed no later than August 21, 2018. Upon the filing of the
27   foregoing, the parties shall await further order of this Court.
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1          3.     The Clerk of Court shall serve a copy of the petition together with a copy of
2    this order on the United States Attorney or an authorized representative, 880 Front Street,
3    Room 6293, San Diego, CA 92101.
4    DATED:      July 3, 2018
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6                                                 JOHN A. HOUSTON
                                                  United States District Judge
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